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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Lori Saroya,                                              Court File No. 24-CV-110 (DWF/DTS)

               Plaintiff,
                                                  DEFENDANT CAIR FOUNDATION, INC.
v.                                                  D/B/A COUNCIL ON AMERICAN-
                                                   ISLAMIC RELATIONS AND CAIR’S
CAIR Foundation, Inc. d/b/a                       ANSWERS TO LORI SAROYA’S FIRST
Council on American-Islamic Relations &               SET OF INTERROGATORIES
CAIR,

               Defendant.


TO:      PLAINTIFF, LORI SAROYA, AND HER COUNSEL OF RECORD, STEVEN C.
         KERBAUGH, SAUL EWING, LLP, 33 S. 6TH STREET, SUITE 4750,
         MINNEAPOLIS, MN 55402 AND JEFFREY S. ROBBINS, JOSEPH D.
         LIPCHITZ, AND KELSEY M. WESTRICH, 131 DARTMOUTH STREET, SUITE
         501, BOSTON, MA 02116.

         Defendant CAIR Foundation, Inc. d/b/a Council on American-Islamic Relations & CAIR,

(“CAIR”) hereby submits its answers to Plaintiff Lori Saroya’s (“Plaintiff”) First Set of

Interrogatories:

                                  GENERAL OBJECTIONS

         1.    CAIR hereby submits its objections and responses to Plaintiff’s Interrogatories

(“the Interrogatories”). All responses are made without in any way waiving or intending to

waive, but on the contrary, intending to preserve and preserving:

         (a)   All questions as to competency, relevancy, materiality, privilege and admissibility
               as evidence for any purpose, of the answer or subject matter thereof, in any
               subsequent proceeding in, or the trial of, this or any other action;

         (b)   The right to object to the use of any of said answers or responses, or subject
               matter thereof, in any subsequent proceeding in, or the trial of, this or any other
               action;




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          (c)   The right to object on any ground at any time to a demand for further response to
                these or any other document requests or other discovery procedures involving or
                relating to the subject matter of the document requests herein answered; and

          (d)   The right at any time to revise, correct, add to, or clarify any of the answers or
                responses propounded herein.

          2.    CAIR objects to the Interrogatories, including Plaintiff’s Definitions and

Instructions, to the extent they seek to impose burdens or obligations on CAIR beyond those

imposed by the Federal Rules of Civil Procedure, or any applicable local rules, case law, or court

orders.

          3.    CAIR objects to the Interrogatories to the extent that they seek information

protected by the attorney-client privilege or the work-product doctrine, other applicable

privilege, or information that is protected by the Federal Rules of Civil Procedure, federal law, or

Minnesota law. Accordingly, unless otherwise indicated, all responses will exclude from their

scope all information and tangible items generated or prepared in anticipation of litigation by or

for CAIR and its representatives.

          5.    CAIR objects to the Interrogatories to the extent they seek information not

relevant to the parties’ respective claims or defenses, and are not proportional to the needs of the

case, considering the importance of the issues at stake in the action, the amount in controversy,

the parties’ relative access to relevant information, the parties’ resources, and the importance of

the discovery in resolving the issues, and whether the burden or expense of the proposed

discovery likely outweighs its likely benefit.

          6.    CAIR objects to the vague phrasing and broad scope of the Interrogatories to the

extent that their meaning is unclear and impossible to answer precisely. Without waiving this

objection, CAIR further reserves the right to amend its responses as discovery continues.




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         7.    CAIR also objects to the Interrogatories to the extent that they seek confidential

or proprietary information, information protected by a protective order, and to the extent that an

appropriate protective order has not yet been entered by the Court.          All documents to be

produced will be produced at a mutually convenient time and place subject to the entry of an

appropriate protective order.

         8.    CAIR’s Answers are based on its investigation of the facts pertaining to this

action to date. CAIR reserves the right to supplement these Answers if additional information is

discovered or becomes known.

         9.    CAIR objects to the Interrogatories to the extent they impose burdens or

obligations on CAIR beyond those required by the Federal Rules of Civil Procedure.

         10.   CAIR responds to these Interrogatories solely for the purposes of this action.

Each response is subject to all objections as to competence, relevance, materiality, propriety and

admissibility, and any and all other objections and grounds that would require the exclusion of

any statement herein if the Interrogatory were asked of, or any statement contained herein were

made by, a witness present and testifying in court, all of which objections and grounds are

reserved and may be interposed at the time of trial.

         11.   CAIR objects to Plaintiff’s Instruction No. 3 that purports to define CAIR’s

obligation to identify any knowledge or information in the possession of CAIR’s “employees,”

without limitation, without specification or identification, and without regard to current or former

employees. CAIR objects to the extent this Instruction imposes obligations on CAIR beyond

those contemplated by the Federal Rules of Civil Procedure, including the obligation to provide

information not within CAIR’s possession, custody, and/or control.




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         12.    CAIR objects to Plaintiff’s definition of “CAIR,” which is defined to include “any

of its parent or subsidiary organizations, affiliates, chapters, agents, representatives, attorneys, or

anyone else acting on its behalf, and expressly includes but is not limited to Washington Trust

Foundation, Inc., CAIR Action Network, Inc., Council on American Islamic Relations Action

Network, Inc., and CAIR National Legal Defense Fund, Inc.” By so doing, Plaintiff attempts to

seek information and documents in discovery from third parties that are separate and distinct

legal entities from CAIR and that are not parties to this litigation and require CAIR to produce

documents not within its possession, custody, and/or control and otherwise beyond the

requirements of the Federal Rules of Civil Procedure.

         Without in any way waiving or limiting the foregoing general objections, and

incorporating the same into each and every answer below as if fully stated therein, CAIR

provides the following answers:

             SPECIFIC OBJECTIONS AND ANSWERS TO INTERROGATORIES
                      INTERROGATORIES TO EACH DEFENDANT

        INTERROGATORY NO. 1:           Please state the name, address and position of each
person who provided information in connection with the preparation of responses to each
interrogatory set forth herein.

       ANSWER: CAIR identifies the following individual as having provided
information, consultation, and/or participation for CAIR’s answers to Plaintiff’s
Interrogatories, with assistance from counsel: Lena Masri, General Counsel. Ms. Masri is
available through the undersigned counsel for CAIR.

       INTERROGATORY NO. 2:                  Please identify by name, address and phone number
every public relations firm, media consultant or lobbyist engaged by CAIR since 2020.

        ANSWER: CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. Specifically, CAIR objects to the definition of
CAIR, which Plaintiff has drafted to include “any of its parent or subsidiary organizations,
affiliates, chapters, agents, representatives, attorneys, or anyone else acting on its behalf,
and expressly includes but is not limited to Washington Trust Foundation, Inc., CAIR
Action Network, Inc., Council on American Islamic Relations Action Network, Inc., and
CAIR National Legal Defense Fund, Inc.” By so doing, Plaintiff seeks discovery relating to

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“every public relations firm, media consultant, or lobbyist engaged” by entities that are not
parties to this litigation. CAIR’s overbreadth objection also relates to the temporal scope
of this Interrogatory, which is not tailored to the claims and/or defenses in this action.
CAIR further objects to this Interrogatory to the extent it seeks information not relevant to
the claims and/or defenses in this action, including identification of entities (if any) engaged
for purposes unrelated to any claim or defense, and identification of “lobbyists”—as any
such lobbyist engagement is unrelated to any claim or defense. CAIR further objects to
this Interrogatory to the extent it seeks information outside of CAIR’s possession, custody,
and/or control. CAIR further objects to this Interrogatory as vague and ambiguous as to
the meaning and scope of the “lobbyist.”

      Subject to and without waiving the foregoing objections, CAIR is willing to meet
and confer to narrow the scope of this Interrogatory.

        INTERROGATORY NO. 3:                Please identify by name, address and phone number
each person who participated in or were involved in the drafting, review, revision, or publication
of the Press Release.

        ANSWER: CAIR objects to this Interrogatory as overly broad, not reasonably
calculated to lead to the discovery of admissible evidence, and not proportional to the needs
of the case. CAIR specifically objects to this Interrogatory to the extent it seeks information
as to individuals (irrespective of affiliation with CAIR) who reviewed or re-published the
at-issue Press Release after it was posted by CAIR on January 20, 2022.

       Subject to and without waiving the foregoing objections, CAIR identifies the
following individuals who, along with counsel, were involved in drafting and/or revising the
January 20, 2022, press release:

1.       Nihad Awad
2.       Thania Clevenger
3.       Ibrahim Hooper
4.       Edward Mitchell
5.       Roula Allouch

Such individuals are available through counsel for CAIR. See CAIR’s Initial Disclosures.

        INTERROGATORY NO. 4:                    Please identify every statement by CAIR to any of
its chapters or affiliates, or issued to the media, or posted on social media, referring to or relating
to Lori Saroya since January 1, 2018.

       ANSWER: CAIR objects to this Interrogatory as temporally and substantively
overbroad, unduly burdensome, not reasonably calculated to lead to the discovery of
admissible evidence, and not proportional to the needs of the case. Additionally, CAIR
objects to the definition of CAIR, which Plaintiff has drafted to include “any of its parent
or subsidiary organizations, affiliates, chapters, agents, representatives, attorneys, or
anyone else acting on its behalf, and expressly includes but is not limited to Washington
Trust Foundation, Inc., CAIR Action Network, Inc., Council on American Islamic

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Relations Action Network, Inc., and CAIR National Legal Defense Fund, Inc.” By so
doing, Plaintiff seeks discovery relating to statements made by third parties outside CAIR’s
possession, custody, or control. CAIR’s overbreadth objection also relates to the temporal
scope of this Interrogatory, which is not tailored to the claims and/or defenses in this
action. CAIR further objects to this Interrogatory to the extent it seeks information
protected by the attorney-client privilege or work product doctrine. CAIR further objects
to this Interrogatory as vague and ambiguous as to the meaning and scope of the terms
“statement” and “chapters or affiliates.” CAIR further objects to this Interrogatory to the
extent it seeks publicly available information (i.e., social media posts) that are equally
available to Plaintiff. CAIR further objects to this Interrogatory to the extent it seeks
information not relevant to the claims and/or defenses in this action and is instead an
impermissible fishing expedition seeking information unrelated to Plaintiff’s claims in this
lawsuit. See Fed. R Civ. P. 26(a)(b)(1) (providing parties are entitled to discovery
“regarding any nonprivileged matter that is relevant to any party’s claim or defense and
proportional to the needs of the case”); E.E.O.C. v. CRST Van Expedited, Inc., 679 F.3d
657, 675 (8th Cir. 2012) (noting “parties may not use discovery . . . as a fishing expedition to
uncover more violations” (internal quotations and citations omitted)); Hofer v. Mack
Trucks, Inc., 981 F.2d 377, 380 (8th Cir. 1992) (stating Rule 26(b) “should not be
misapplied so as to allow fishing expeditions in discovery”).

       Subject to and without waiving the foregoing objections, CAIR will produce all non-
privileged communications in its possession, custody, or control referring to Plaintiff and
related to any claim or defense at issue in this case.

         INTERROGATORY NO. 5:               Please identify the total views or viewers of the
Press Release, including but not limited to the number of visitors to the webpage
https://www.cair.com/press_releases/community-update-on-cyberstalking-by-lori-saroya-ex-
staffer/, from January 20, 2022 to present.

       ANSWER:        CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. CAIR further objects to this Interrogatory as
vague and ambiguous as to the terms “total views,” “viewers of the Press Release,” and
“number of visitors to the webpage.” CAIR further objects to this Interrogatory to the
extent it seeks information outside of CAIR’s possession, custody, and/or control.

        Subject to and without waiving the foregoing objections, CAIR agrees to look into
whether responsive information is available and within its possession, custody, or control
and, if so, will identify such information.

        INTERROGATORY NO. 6:                 Please identify every individual or email address to
which CAIR sent the Press Release, including but not limited to any news organizations and any
listservs, from January 20, 2022 to present.

      ANSWER: CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. CAIR further objects to this Interrogatory as

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vague and ambiguous as to the terms “any news organizations” and “listservs.” CAIR
further objects to this Interrogatory to the extent it seeks information protected by the
attorney-client privilege or work product doctrine. CAIR further objects to this
Interrogatory to the extent it seeks information not relevant to the claims and/or defenses
in this action.

       Subject to and without waiving the foregoing objections, CAIR posted the at-issue
Press Release on a sub-page of its website on or around January 20, 2022. CAIR will
identify individuals or email addresses to whom CAIR sent a copy of the press release after
it was published. Discovery continues.

        INTERROGATORY NO. 7:                Please identify every act and communication by
Plaintiff that You contend constitutes “cyberstalking,” including in Your response the
identification of any witness and/or document that You contend supports Your allegation.

       ANSWER:         CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. CAIR further objects to this Interrogatory as
vague and ambiguous as to the term “every act and communication.” CAIR further
objects to this Interrogatory to the extent it misstates and/or mischaracterizes the Press
Release. CAIR further objects to this Interrogatory because it seeks information and/or
documents which can be better obtained from Plaintiff, who is a more convenient, less
burdensome, or less expensive source under Rule 26. CAIR further objects to this
Interrogatory as compound, noting that it counts as a separate and distinct interrogatory
with respect to the identification of witnesses and documents.

       Subject and without waiving the foregoing objections, CAIR directs Plaintiff
pursuant to Fed. R. Civ. P. 33(d) to documents to be produced, which will include
responsive communications in CAIR’s possession, custody, and control. CAIR further
answers that identifying every responsive act, communication, witness, and document
imposes an improper and undue burden on CAIR because Plaintiff engaged in many acts
and communications (a) on platforms to which CAIR no longer has (or never had) access,
(b) during communications to which CAIR was not a direct participant, and/or (c) in other
methods which make it impossible for CAIR to be aware of every responsive witness and
document to Plaintiff’s communications or acts. Discovery continues and CAIR reserves
the right to supplement this Answer.

        INTERROGATORY NO. 8:                Please identify every fact, circumstance, witness
and document that You contend supports Your allegation in the Press Release that the 2021
Litigation “had already allowed [CAIR] to prove her [Ms. Saroya’s] conduct . . . .”

        ANSWER: CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. CAIR further objects to this Interrogatory as
compound, noting that it counts as a separate and distinct interrogatory with respect to the
identification of witnesses and documents. CAIR further objects to this Interrogatory to
the extent it seeks information protected by the attorney-client privilege or work product

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doctrine. CAIR further objects to this Interrogatory to the extent it misstates and/or
mischaracterizes the Press Release.

       Subject to and without waiving the foregoing objections, CAIR directs Plaintiff to
her answer and discovery responses filed or served in the 2021 lawsuit, in which she admits
to engaging in such conduct, including harmful communications to or about CAIR.
Discovery continues and CAIR reserves the right to supplement this Answer.

        INTERROGATORY NO. 9:                 Please identify every fact, circumstance, witness
and document that You contend supports Your allegation in the Press Release that “Lori was not
able to defeat our lawsuit. A few weeks ago, the judge overseeing the case ruled in our favor and
denied Lori’s motion to dismiss our lawsuit.”

        ANSWER: CAIR objects to this Interrogatory as overly broad and not
proportional to the needs of the case. CAIR further objects to this Interrogatory as
compound, noting that it counts as a separate and distinct interrogatory with respect to the
identification of witnesses and documents. CAIR further objects to this Interrogatory to
the extent it seeks information protected by the attorney-client privilege or work product
doctrine. CAIR further objects to this Interrogatory to the extent it misstates and/or
mischaracterizes the Press Release.

        Subject to and without waiving the foregoing objections, CAIR states in the prior
litigation captioned CAIR Foundation, Inc. d/b/a Council on American-Islamic Relations, &
CAIR v. Asma Lori Haidri Saroya, Court File No. 27-CV-1267 SRN-TNL (the “2021
Lawsuit”), Ms. Saroya (then a defendant) brought a Motion for Partial Judgment on the
Pleadings (see 2021 Lawsuit, ECF No. 27). CAIR (then the plaintiff) opposed Ms. Saroya’s
Motion for Partial Judgment on the Pleadings (see 2021 Lawsuit, ECF No. 59). On
December 13, 2021, the Court held a hearing on Ms. Saroya’s Motion for Partial Judgment
on the Pleadings and denied Ms. Saroya’s Motion (see 2021 Lawsuit, ECF No. 82 (“The
motion is DENIED, without prejudice.”)). Answering further, CAIR directs Plaintiff to the
publicly available documents filed as part of the 2021 Lawsuit. Discovery continues and
CAIR reserves the right to supplement this Answer.

        INTERROGATORY NO. 10:                 Please identify every officer or employee of CAIR
or any chapter or affiliate of CAIR who to Your knowledge has asserted, orally or in writing, that
he or she has been the subject of discrimination, harassment or retaliation by any employee or
officer of CAIR or one of its chapters or affiliates since 2011, stating the name of the individual,
the nature of the claim and the names of the individual(s) or entity(ies) claimed to be responsible.

        ANSWER: CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. Specifically, CAIR objects to the definition of
CAIR, which Plaintiff has drafted to include “any of its parent or subsidiary organizations,
affiliates, chapters, agents, representatives, attorneys, or anyone else acting on its behalf,
and expressly includes but is not limited to Washington Trust Foundation, Inc., CAIR
Action Network, Inc., Council on American Islamic Relations Action Network, Inc., and
CAIR National Legal Defense Fund, Inc.” By so doing, Plaintiff seeks discovery relating to

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complaints made by “every officer or employee of CAIR” of “discrimination, harassment
or retaliation by any employee or officer of CAIR,” which includes employees and officers
of entities that are not parties to this litigation and complaints involving entities that are
not parties to this litigation. CAIR’s overbreadth and burden objections also relate to the
temporal scope of this Interrogatory, which is not tailored to the claims and/or defenses in
this action. CAIR further objects to this Interrogatory to the extent it seeks information
from third parties and/or separate legal entities not parties to this action and thus seeks
information outside of CAIR’s possession, custody, and/or control. CAIR further objects to
this Interrogatory as vague and ambiguous as to the terms “subject of discrimination,
harassment or retaliation,” “nature of the claim” and “claimed to be responsible.” CAIR
further objects to this Interrogatory to the extent it seeks information protected by the
attorney-client privilege or work product doctrine. CAIR further objects to this
Interrogatory to the extent it seeks information not relevant to the claims and/or defenses
in this action and is nothing more than an impermissible fishing expedition seeking
information unrelated to Plaintiff’s claims in this lawsuit. See Fed. R Civ. P. 26(a)(b)(1)
(providing parties are entitled to discovery “regarding any nonprivileged matter that is
relevant to any party’s claim or defense and proportional to the needs of the case”);
E.E.O.C. v. CRST Van Expedited, Inc., 679 F.3d 657, 675 (8th Cir. 2012) (noting “parties
may not use discovery . . . as a fishing expedition to uncover more violations” (internal
quotations and citations omitted)); Hofer v. Mack Trucks, Inc., 981 F.2d 377, 380 (8th Cir.
1992) (stating Rule 26(b) “should not be misapplied so as to allow fishing expeditions in
discovery”); Hodges v. Pfizer, Inc., 2016 WL 1222229, at *2 (D. Minn. Mar. 28, 2016) (“To
ensure Rule 26(b) is not misapplied so as to allow fishing expeditions in discovery, a party
must make a threshold showing of relevance . . . before parties are required to open wide
the doors of discovery and produce a variety of information which does not reasonably
bear upon the issues in the case.” (internal quotations and citations omitted)). Based on
these objections, no responsive information will be provided.

       INTERROGATORY NO. 11:                 With respect to every assertion of discrimination,
harassment or retaliation identified in response to the preceding interrogatory, please describe
any investigation conducted by CAIR.

       ANSWER: CAIR incorporates by reference its objections and response to
Interrogatory No. 10.

         INTERROGATORY NO. 12:                Please identify every complaint, grievance or claim
of any kind made against Lori Saroya by any officer or employee of CAIR, or any chapter or
affiliate thereof, and state the name of the individual, the nature and date of the claim and the
name of any individual investigating the complaint, grievance or claim.

        ANSWER:            CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. Specifically, CAIR objects to the definition of
CAIR, which Plaintiff has drafted to include “any of its parent or subsidiary organizations,
affiliates, chapters, agents, representatives, attorneys, or anyone else acting on its behalf,
and expressly includes but is not limited to Washington Trust Foundation, Inc., CAIR
Action Network, Inc., Council on American Islamic Relations Action Network, Inc., and

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CAIR National Legal Defense Fund, Inc.” By so doing, Plaintiff seeks discovery relating to
“every complaint, grievance or claim of any kind made against Lori Saroya,” including
those that may have been made to entities that are not parties to this litigation and/or are
outside CAIR’s possession, custody, and/or control. CAIR’s overbreadth and burden
objections also relate to the lack of temporal scope of this Interrogatory, which is not
tailored to the claims and/or defenses in this action. CAIR further objects to this
Interrogatory as vague and ambiguous as to the terms “complaint, grievance, or claim of
any kind,” “nature . . . of the claim,” and “investigating the complaint, grievance or claim.”
CAIR further objects to this Interrogatory to the extent it seeks information protected by
the attorney-client privilege or work product doctrine. CAIR further objects to this
Interrogatory to the extent it seeks information not relevant to the claims and/or defenses
in this action.

         Subject to and without waiving the foregoing objections, CAIR answers as follows:

Zainab Chaudry. Multiple complaints related to Ms. Saroya’s continued interference in
Ms. Chaudry’s work for CAIR-Maryland and repeated harassment. Nihad Awad
investigated Ms. Chaudry’s complaints.

Saud Shah. In or around June 2017, complaints regarding Ms. Saroya’s unprofessional and
hostile behavior. Nihad Awad investigated Mr. Shah’s complaints.

Jinan Shbat. Complaints about hostile and inappropriate behavior and treatment by Ms.
Saroya.

Sahra Nadiir. In or around March 2018, complaints regarding Ms. Saroya’s hostile
behavior towards and harassment of CAIR office staff. Nihad Awad investigated Sahra
Nadiir’s complaints.

Nezar Hamze. In or around February 2017 and June 2017, complaints regarding Ms.
Saroya’s hostile behavior towards and harassment of CAIR-Florida staff. Nihad Awad
investigated Nezar Hamze’s complaints.

Hassan Shibly. Complaints about inappropriate harassing behavior by Ms. Saroya.

Discovery continues.

        INTERROGATORY NO. 13:                  Please identify every document referring or relating
to or reflecting or constituting in whole or in part an evaluation or comment on Lori Saroya’s job
performance either with CAIR’s Minnesota chapter or with CAIR.

        ANSWER:         CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. CAIR’s overbreadth and burden objections also
relate to the lack of temporal scope of this Interrogatory, which is not tailored to the claims
and/or defenses in this action. CAIR further objects to this Interrogatory to the extent it
seeks information from third parties and/or separate legal entities not parties to this action

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and thus seeks information outside of CAIR’s possession, custody, and/or control. CAIR
further objects to this Interrogatory as vague and ambiguous as to the terms “every
document,” “an evaluation or comment,” and “job performance.” CAIR further objects to
this Interrogatory to the extent it seeks information protected by the attorney-client
privilege or work product doctrine. CAIR further objects to this Interrogatory to the
extent it seeks information not relevant to the claims and/or defenses in this action.

       Subject to and without waiving the foregoing objections, CAIR will produce
Plaintiff’s performance evaluations.

       INTERROGATORY NO. 14:               Please identify every email account, social media
account, YouTube account, and Internet address used by CAIR since 2011.

        ANSWER:         CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. Specifically, CAIR objects to the definition of
CAIR, which Plaintiff has drafted to include “any of its parent or subsidiary organizations,
affiliates, chapters, agents, representatives, attorneys, or anyone else acting on its behalf,
and expressly includes but is not limited to Washington Trust Foundation, Inc., CAIR
Action Network, Inc., Council on American Islamic Relations Action Network, Inc., and
CAIR National Legal Defense Fund, Inc.” By so doing, Plaintiff seeks discovery requiring
CAIR to identify “every email account, social media account, YouTube account, and
Internet address” used by entities that are not parties to this litigation. CAIR further
objects to this Interrogatory to the extent it seeks information from third parties and/or
separate legal entities not parties to this action and thus seeks information outside of
CAIR’s possession, custody, and/or control. CAIR’s overbreadth and burden objections
also relate to the temporal scope of this Interrogatory, which goes well beyond what is
relevant to the claims and/or defenses in this action. CAIR further objects to this
Interrogatory as vague and ambiguous as to the meaning of the terms “email account,”
“social media account,” “YouTube account,” and “Internet address.” CAIR further
objects to this Interrogatory to the extent it seeks information not relevant to the claims
and/or defenses in this action.

Subject to and without waiving the foregoing objections, CAIR answers that it posted the
at-issue Press Release on a sub-page of its website, www.cair.com.

       INTERROGATORY NO. 15:                Please describe any investigation conducted by
CAIR or on CAIR’s behalf by an external investigator into allegations of misconduct of any kind
by any CAIR director, officer or employee thereof, since 2011.

        ANSWER:         CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. Specifically, CAIR objects to the definition of
CAIR, which Plaintiff has drafted to include “any of its parent or subsidiary organizations,
affiliates, chapters, agents, representatives, attorneys, or anyone else acting on its behalf,
and expressly includes but is not limited to Washington Trust Foundation, Inc., CAIR
Action Network, Inc., Council on American Islamic Relations Action Network, Inc., and

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CAIR National Legal Defense Fund, Inc.” By so doing, Plaintiff seeks discovery relating to
“any investigation” conducted by CAIR and other legal entities that are not parties to this
litigation and/or outside of CAIR’s possession, custody, and/or control. CAIR’s
overbreadth and burden objections also relate to the temporal scope of this Interrogatory,
which goes well beyond what is relevant to the claims and/or defenses in this action. CAIR
further objects to this Interrogatory as vague and ambiguous as to the terms “any
investigation,” “conducted by CAIR or on CAIR’s behalf,” “external investigator,” and
“allegations of misconduct of any kind.” CAIR further objects to this Interrogatory to the
extent it seeks information protected by the attorney-client privilege or work product
doctrine. CAIR further objects to this Interrogatory to the extent it seeks information not
relevant to the claims and/or defenses in this action and is nothing more than an
impermissible fishing expedition seeking information unrelated to Plaintiff’s claims in this
lawsuit. See Fed. R Civ. P. 26(a)(b)(1) (providing parties are entitled to discovery
“regarding any nonprivileged matter that is relevant to any party’s claim or defense and
proportional to the needs of the case”); E.E.O.C. v. CRST Van Expedited, Inc., 679 F.3d
657, 675 (8th Cir. 2012) (noting “parties may not use discovery . . . as a fishing expedition to
uncover more violations” (internal quotations and citations omitted)); Hofer v. Mack
Trucks, Inc., 981 F.2d 377, 380 (8th Cir. 1992) (stating Rule 26(b) “should not be
misapplied so as to allow fishing expeditions in discovery”); Hodges v. Pfizer, Inc., 2016 WL
1222229, at *2 (D. Minn. Mar. 28, 2016) (“To ensure Rule 26(b) is not misapplied so as to
allow fishing expeditions in discovery, a party must make a threshold showing of relevance
. . . before parties are required to open wide the doors of discovery and produce a variety of
information which does not reasonably bear upon the issues in the case.” (internal
quotations and citations omitted)). Based on these objections, no responsive information
will be provided.

        INTERROGATORY NO. 16:                Please identify every lawsuit, including but not
limited to those alleging defamation, that CAIR has filed from 2011 to the present, and include in
Your response the parties, the forum in which the action was commenced, the docket number
and the year in which it was filed.

        ANSWER: CAIR objects to this Interrogatory as overly broad, unduly burdensome,
not reasonably calculated to lead to the discovery of admissible evidence, and not
proportional to the needs of the case. Specifically, CAIR objects to the definition of CAIR,
which Plaintiff has drafted to include “any of its parent or subsidiary organizations,
affiliates, chapters, agents, representatives, attorneys, or anyone else acting on its behalf,
and expressly includes but is not limited to Washington Trust Foundation, Inc., CAIR
Action Network, Inc., Council on American Islamic Relations Action Network, Inc., and
CAIR National Legal Defense Fund, Inc.” By so doing, Plaintiff seeks discovery relating to
“every lawsuit” filed by CAIR and other entities that are not parties to this litigation
and/or outside CAIR’s possession, custody, or control. CAIR’s overbreadth and burden
objections also relate to the temporal scope of this Interrogatory, which goes well beyond
what is relevant to the claims and/or defenses in this action. CAIR further objects to this
Interrogatory to the extent it seeks publicly available information equally available to
Plaintiff. CAIR further objects to this Interrogatory to the extent it seeks information
protected by the attorney-client privilege or work product doctrine. CAIR further objects


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to this Interrogatory to the extent it seeks information not relevant to the claims and/or
defenses in this action.

      Subject to and without waiving the foregoing objections, CAIR filed the 2021
Lawsuit against Plaintiff in the District of Minnesota.

        INTERROGATORY NO. 17:               Please identify every lawsuit or administrative
claim of any kind filed by any individual, entity or agency against CAIR, and/or any director,
officer or employee thereof, since 2011, and for each identify the parties, the forum in which it
was commenced, the docket or file number and the year in which it was filed.

         ANSWER:         CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. Specifically, CAIR objects to the definition of
CAIR, which Plaintiff has drafted to include “any of its parent or subsidiary organizations,
affiliates, chapters, agents, representatives, attorneys, or anyone else acting on its behalf,
and expressly includes but is not limited to Washington Trust Foundation, Inc., CAIR
Action Network, Inc., Council on American Islamic Relations Action Network, Inc., and
CAIR National Legal Defense Fund, Inc.” By so doing, Plaintiff seeks discovery relating to
“every lawsuit or administrative claim of any kind” that against CAIR, its directors,
officers, and/or employees, and other legal entities that are not parties to this litigation
and/or outside of CAIR’s possession, custody, or control. CAIR’s overbreadth and burden
objections also relate to the temporal scope of this Interrogatory, which goes well beyond
what is relevant to the claims and/or defenses in this action. CAIR further objects to this
Interrogatory to the extent it seeks publicly available information equally available to
Plaintiff. CAIR further objects to this Interrogatory as vague and ambiguous as to the term
“every lawsuit or administrative claim of any kind.” CAIR further objects to this
Interrogatory to the extent it seeks information protected by the attorney-client privilege or
work product doctrine. CAIR further objects to this Interrogatory to the extent it seeks
information not relevant to the claims and/or defenses in this action and is nothing more
than an impermissible fishing expedition seeking information unrelated to Plaintiff’s
claims in this lawsuit. See Fed. R Civ. P. 26(a)(b)(1) (providing parties are entitled to
discovery “regarding any nonprivileged matter that is relevant to any party’s claim or
defense and proportional to the needs of the case”); E.E.O.C. v. CRST Van Expedited, Inc.,
679 F.3d 657, 675 (8th Cir. 2012) (noting “parties may not use discovery . . . as a fishing
expedition to uncover more violations” (internal quotations and citations omitted)); Hofer
v. Mack Trucks, Inc., 981 F.2d 377, 380 (8th Cir. 1992) (stating Rule 26(b) “should not be
misapplied so as to allow fishing expeditions in discovery”); Hodges v. Pfizer, Inc., 2016 WL
1222229, at *2 (D. Minn. Mar. 28, 2016) (“To ensure Rule 26(b) is not misapplied so as to
allow fishing expeditions in discovery, a party must make a threshold showing of relevance
. . . before parties are required to open wide the doors of discovery and produce a variety of
information which does not reasonably bear upon the issues in the case.” (internal
quotations and citations omitted)).

         Based on these objections, no further answer will be provided.



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       INTERROGATORY NO. 18:                 Please identify every federal or state criminal
indictment or information that has been issued against, or guilty plea that has been entered by,
any individual who has been an employee, officer or director of CAIR since 2011, and for each
such indictment, information or plea state the name of the defendant(s), the court in which it has
been issued or entered, the docket number and year in which the matter was instituted.

        ANSWER: CAIR objects to this Interrogatory as overly broad, unduly burdensome,
not reasonably calculated to lead to the discovery of admissible evidence, and not
proportional to the needs of the case. Specifically, CAIR objects to the definition of CAIR,
which Plaintiff has drafted to include “any of its parent or subsidiary organizations,
affiliates, chapters, agents, representatives, attorneys, or anyone else acting on its behalf,
and expressly includes but is not limited to Washington Trust Foundation, Inc., CAIR
Action Network, Inc., Council on American Islamic Relations Action Network, Inc., and
CAIR National Legal Defense Fund, Inc.” By so doing, Plaintiff seeks discovery relating to
“every federal or state criminal indictment or information” relating to legal entities that
are not parties to this litigation. CAIR’s overbreadth and burden objections also relate to
the temporal scope of this Interrogatory, which goes well beyond what is relevant to the
claims and/or defenses in this action. CAIR further objects to this Interrogatory to the
extent it seeks information from third parties and/or separate legal entities not parties to
this action and thus seeks information outside of CAIR’s possession, custody, and/or
control. CAIR further objects to this Interrogatory to the extent it seeks publicly available
information equally available to Plaintiff. CAIR further objects to this Interrogatory as
vague and ambiguous as to the phrase “federal or state criminal indictment or
information.” CAIR further objects to this Interrogatory to the extent it seeks information
protected by the attorney-client privilege or work product doctrine. CAIR further objects
to this Interrogatory to the extent it seeks information not relevant to the claims and/or
defenses in this action and is nothing more than an impermissible fishing expedition
seeking information unrelated to Plaintiff’s claims in this lawsuit. See Fed. R Civ. P.
26(a)(b)(1) (providing parties are entitled to discovery “regarding any nonprivileged
matter that is relevant to any party’s claim or defense and proportional to the needs of the
case”); E.E.O.C. v. CRST Van Expedited, Inc., 679 F.3d 657, 675 (8th Cir. 2012) (noting
“parties may not use discovery . . . as a fishing expedition to uncover more violations”
(internal quotations and citations omitted)); Hofer v. Mack Trucks, Inc., 981 F.2d 377, 380
(8th Cir. 1992) (stating Rule 26(b) “should not be misapplied so as to allow fishing
expeditions in discovery”); Hodges v. Pfizer, Inc., 2016 WL 1222229, at *2 (D. Minn. Mar.
28, 2016) (“To ensure Rule 26(b) is not misapplied so as to allow fishing expeditions in
discovery, a party must make a threshold showing of relevance . . . before parties are
required to open wide the doors of discovery and produce a variety of information which
does not reasonably bear upon the issues in the case.” (internal quotations and citations
omitted)).

         Based on these objections, no further answer will be provided.

         INTERROGATORY NO. 19:                Please identify every settlement agreement,
severance agreement or non-disclosure agreement entered into with any individual by CAIR
since 2011, including in Your response the name of that individual, the nature of the agreement,
its date and any financial consideration paid to that individual in connection with that agreement.

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        ANSWER:         CAIR objects to this Interrogatory as overly broad, unduly
burdensome, not reasonably calculated to lead to the discovery of admissible evidence, and
not proportional to the needs of the case. Specifically, CAIR objects to the definition of
CAIR, which Plaintiff has drafted to include “any of its parent or subsidiary organizations,
affiliates, chapters, agents, representatives, attorneys, or anyone else acting on its behalf,
and expressly includes but is not limited to Washington Trust Foundation, Inc., CAIR
Action Network, Inc., Council on American Islamic Relations Action Network, Inc., and
CAIR National Legal Defense Fund, Inc.” By so doing, Plaintiff seeks discovery relating to
“every settlement agreement, severance agreement or non-disclosure agreement” involving
legal entities that are not parties to this litigation. CAIR’s overbreadth and burden
objections also relate to the temporal scope of this Interrogatory, which goes well beyond
what is relevant to the claims and/or defenses in this action. CAIR further objects to this
Interrogatory to the extent it seeks information from third parties and/or separate legal
entities not parties to this action and thus seeks information outside of CAIR’s possession,
custody, and/or control. CAIR further objects to this Interrogatory as vague and
ambiguous as to the terms “settlement agreement,” “severance agreement,” “non-
disclosure agreement,” “Your response,” the “nature of the agreement,” and “any financial
consideration paid.” CAIR further objects to this Interrogatory to the extent it seeks
information protected by the attorney-client privilege or work product doctrine. CAIR
further objects to this Interrogatory to the extent it seeks information not relevant to the
claims and/or defenses in this action and is nothing more than an impermissible fishing
expedition seeking information unrelated to Plaintiff’s claims in this lawsuit. See Fed. R
Civ. P. 26(a)(b)(1) (providing parties are entitled to discovery “regarding any
nonprivileged matter that is relevant to any party’s claim or defense and proportional to
the needs of the case”); E.E.O.C. v. CRST Van Expedited, Inc., 679 F.3d 657, 675 (8th Cir.
2012) (noting “parties may not use discovery . . . as a fishing expedition to uncover more
violations” (internal quotations and citations omitted)); Hofer v. Mack Trucks, Inc., 981
F.2d 377, 380 (8th Cir. 1992) (stating Rule 26(b) “should not be misapplied so as to allow
fishing expeditions in discovery”); Hodges v. Pfizer, Inc., 2016 WL 1222229, at *2 (D. Minn.
Mar. 28, 2016) (“To ensure Rule 26(b) is not misapplied so as to allow fishing expeditions in
discovery, a party must make a threshold showing of relevance . . . before parties are
required to open wide the doors of discovery and produce a variety of information which
does not reasonably bear upon the issues in the case.” (internal quotations and citations
omitted)). CAIR further objections to this Interrogatory as seeking confidential
information belonging to third parties, the privacy of which far outweighs any potential
relevancy.

         Based on these objections, no further answer will be provided.




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AS TO ANSWERS:

        I declare under penalty of perjury that everything I have stated in this document is true
and correct.

Dated: June 6, 2024                         CAIR FOUNDATION, INC. D/B/A COUNCIL
                                            ON AMERICAN-ISLAMIC RELATIONS &
                                            CAIR


                                            By: /s/ Lena F. Masri
                                            Its: General Counsel


Executed in Washington, D.C.


AS TO OBJECTIONS:


Dated: June 6, 2024                        FELHABER LARSON

                                           By: /s/ Zachary A. Alter
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                                                   Zachary A. Alter, #0399991
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